
Mr. Justice MILLEB,
delivered the opinion of the' court.
The litigation to • establish the liability of the Boss was troublesome and expensive to the Corn Exchange Company. Mr. Woodworth did not, in any manner, aid, or offer to aid in it. His interest was against the liability which the company sought to establish; for, if the Boss was declared pot liable, he received these proceeds .and remnants as mortgagee of that vessel. But, after permitting his own libel to sleep during this struggle, he attempts, When it is over, to revive that libel, and claims to share in the fruits of a victory won without his aid, and against his wishes. The District and Circuit Courts both thought he was not entitled to do this, so long as the Corn Exchange Company remained unpaid. In this view' we concur.‡
Our remarks are meant to apply to the libel filed April 1, 1863. But all that "we have said in reference to that libel applies with additional force to the one filed 14th April, 1864, arising from the longer delay in asserting the claim.
Decrees aeeirmed with costs.

 See The Saracen, 6 Mooré P. C. 56; The Clara, 1 Swabey, 1.

